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 INTERIM COUNSEL TO TRUSTEE

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

IN RE:                                       §
                                             §
HIGHLAND SELECT EQUITY                       §     Case No. 23-31037-swe7
MASTER FUND, L.P.                            §     (Chapter 7)
                                             §
       Debtor.                               §
                                             §
IN RE:                                       §
                                             §
HIGHLAND SELECT EQUITY                       §     Case No. 23-31039 mvl7
FUND GP, L.P.,                               §     (Chapter 7)
                                             §
       Debtor.                               §

                       NOTICE OF CANCELLATION OF HEARING

       PLEASE TAKE NOTICE, that the hearing on Debtor’s Motion to Transfer/Reassign Case

which was scheduled for Wednesday, July 19, 2023 at 1:30 p.m. before the Honorable Judge

Michelle V. Larson in the U.S. Bankruptcy Court for the Northern District of Texas, has been

cancelled.

       Date: July 18, 2023

                                          Respectfully submitted,

                                          /s/ Jerry C. Alexander
                                          Jerry C. Alexander
                                          Texas Bar No. 00993500
                                          alexanderj@passmanjones.com




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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing Notice of Cancellation of Hearing
regarding the Debtor’s Motion to Transfer/Reassign Case was served on all Counsel via the
Court’s ECF/PACER system on the 18th day of July 2023.


                                          /s/ Jerry C. Alexander
                                          Jerry C. Alexander




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